Case 2:23-cv-00576-TL Document 40-1 Filed 07/10/23 Page 1 of 6




                          Exhibit A
         Case 2:23-cv-00576-TL Document 40-1 Filed 07/10/23 Page 2 of 6




From: Ju-hyun Choi [sdf] <sdf@nexon.co.kr>
Sent: Tuesday, May 11, 2021 3:29 PM
To: Daehwon Kim [daehwon] <daehwon@nexon.co.kr>
Cc: _HQ New Production [New-production-HQ] <New-production-HQ@nexon.co.kr>; _ New
Production    Directors   [New-production-group]   <New-production-group@nexon.co.kr>;
_Development Strategy Planning [devstrategyplanning] <devstrategyplanning@nexon.co.kr>;
_New Production All Leaders [New-Production-All-Leaders] <New-Production-All-
Leaders@nexon.co.kr>
Subject: RE: Regarding P3 Project Stages

Okay, Daehwon.
I will get things prepared with November as the target deadline.

Oh, also, what is your opinion on maintaining the code name as P3?
With a change in the code name, there are many other things to change, such as the source
code/documentation, etc., and may lead to a waste of resources and some confusion.

Please advise.

From: Daehwon Kim [daehwon] <daehwon@nexon.co.kr>
Sent: Tuesday, May 11, 2021 3:20 PM
To: Ju-hyun Choi [sdf] <sdf@nexon.co.kr>
Cc: _HQ New Production [New-production-HQ] <New-production-HQ@nexon.co.kr>; _ New
Production   Directors     [New-production-group]  <New-production-group@nexon.co.kr>;
_Development Strategy Planning [devstrategyplanning] <devstrategyplanning@nexon.co.kr>;
_New Production All Leaders [New-Production-All-Leaders] <New-Production-All-
Leaders@nexon.co.kr>
Subject: Regarding P3 Project Stages

Dear Ju-Hyun,

We will consider prototyping done and now entering pre-production for P3.

Accordingly, I will start accumulating development costs.

However, for ROOT unit projects, taking into consideration the characteristics of the project,
please note that they will remain as ROOT unit teams.

Nevertheless, I would like to give the project its own name.
We can name it.
For now, please create a project code for the team other than P3, like we did for DR.
         Case 2:23-cv-00576-TL Document 40-1 Filed 07/10/23 Page 3 of 6




Also, please move quickly so that it could be released to the public via early access this
November.
I take it that the team under Ju-hyun Choi also feels the need for a prompt release.

Please also take this into account when coming up with the schedule that you will be sharing.

Wishing you all the best~!
       Case 2:23-cv-00576-TL Document 40-1 Filed 07/10/23 Page 4 of 6




From: 최주현 [sdf] <sdf@nexon.co.kr>
Sent: Tuesday, May 11, 2021 3:29 PM
To: 김대훤 [daehwon] <daehwon@nexon.co.kr>
Cc: _HQ 신규개발 [New-production-HQ] <New-production-HQ@nexon.co.kr>;
_신규개발본부디렉터그룹 [New-production-group] <New-production-group@nexon.co.kr>;
_개발전략기획 [devstrategyplanning] <devstrategyplanning@nexon.co.kr>; _신규개발본부전체리더
[New-Production-All-Leaders] <New-Production-All-Leaders@nexon.co.kr>
Subject: RE: P3 의 프로젝트 단계 관련

네. 대훤님.

11 월을 목표로 준비해 보겠습니다.

아, 혹시 P3 라는 코드명을 유지하는 것은 어떨까요?

코드명을 변경하면 소스코드/문서 등등 변경해야 할 것들이 좀 많아서 자원낭비 및 혼란이 좀 있을
것 같습니다.

의견 부탁드립니다.

From: 김대훤 [daehwon] <daehwon@nexon.co.kr>
Sent: Tuesday, May 11, 2021 3:20 PM
To: 최주현 [sdf] <sdf@nexon.co.kr>
Cc: _HQ 신규개발 [New-production-HQ] <New-production-HQ@nexon.co.kr>;
_신규개발본부디렉터그룹 [New-production-group] <New-production-group@nexon.co.kr>;
_개발전략기획 [devstrategyplanning] <devstrategyplanning@nexon.co.kr>; _신규개발본부전체리더
[New-Production-All-Leaders] <New-Production-All-Leaders@nexon.co.kr>
Subject: P3 의 프로젝트 단계 관련

주현님

P3 는 프로토타이핑을 끝내고 프리프로덕션에 돌입한 것으로 하겠습니다.

따라서 이제 개발비도 쌓도록 할게요.

하지만 ROOT 실 프로젝트들은 프로젝트의 성격을 고려

계속해서 ROOT 실의 팀으로 존재를 할 것이니 참고해 주십시오.

그래도 프로젝트 명은 따로 좀 붙였으면 하네요.

이름을 정해도 좋구요.

일단은 P3 가 아닌 DR 처럼 팀 차원의 프로젝트 코드명을 만들어 주시기 바랍니다.
     Case 2:23-cv-00576-TL Document 40-1 Filed 07/10/23 Page 5 of 6




그리고 올해 11 월에는 얼리억세스로 외부에 공개를 할 수 있도록 속도를 내 주시기 바랍니다.

최주현님 이하 팀에서도 빠르게 공개를 하고자 하는 니즈가 있는 것으로 이해 하겠습니다.

곧 공유해 주실 일정 수립에도 해당 사항을 반영해 주시기 바라겠구요.

계속 파이팅 입니다~!
       Case 2:23-cv-00576-TL Document 40-1 Filed 07/10/23 Page 6 of 6




                         CERTIFICATE OF TRANSLATION

        We certify that the Korean to English translation of “Hwang – Exhibit A (Email)” is
an accurate and complete rendering of the contents of the source document to the best of our
knowledge and ability.




                                    Date: July 10, 2023




                                       1, Gwanak-ro, Gwanak-gu, Seoul, Republic of Korea
                                                                            Bering Lab Inc.




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